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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

DRY ENTERPRISES, INC., et al.,         )
                                       )
                         Plaintiff,    )
           vs.                         )            No. 07 C 1657
                                       )
SUNJUT AS, et al.,                     )
                                       )
                         Defendants. )              Judge Kendall
                                       )
SUNJUT AS, et al.                      )            Magistrate Judge Cole
                                       )
                   Counter-Plaintiffs, )
                                       )
     vs.                               )
                                       )
STEVEN E. DRY, et al.                  )
                                       )
                   Counter-Defendants.)


       DEFENDANTS REPLY MEMORANDUM IN SUPPORT OF MOTION TO
DISMISS COUNT VII OF DEFENDANTS SUNJUT AS, SUN-PACK CORPORATION,
          METIN LEVI, FIDAN LABBE AND TUNCER ERKTOLAR

       Count VII asserts a claim in tort for defamation under Illinois law. The basis for

defamation liability is a particular publication, not a course of conduct or state of mind.

Plaintiffs alleged certain publications by identified individual defendants, and these were

reviewed individually for legal sufficiency in Defendants supporting memorandum.

      I.      GENERAL ALLEGATIONS STANDING ALONE ARE LEGALLY INSUFFICIENT

       Plaintiffs argue in opposition to Defendants Rule 12(b)(6) motion (Response, at 11-12)

and in response to Patriquin s and Cinar s motions to dismiss that broad, blunderbuss assertions

of defamation by unspecified Defendants (e.g., Complaint, ¶¶78, 91, 92, 102, 107) standing

alone, state a claim for defamation by each Defendant separately.

       These are the allegations on which Count VII is based:


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          151. Defendants have made multiple false and defamatory statements of fact
               about Sunpack Pacific, Dry Enterprises, Steven Dry and Hazneci as
               fully set forth in paragraphs 72-102 of this Complaint.

          152. Among other things, Defendants have falsely stated that Sunpack
               Pacific, Dry Enterprises, Steven Dry and Hazneci have acted
               unlawfully towards Sunjut A.S., and that Steven Dry and Hazneci have
               stolen from Sunjut A.S., and that Steven Dry and Hazneci have acted
               for greed or for personal benefit against Sunjut A.S. as fully set forth in
               paragraphs 72-102 of this Complaint.

          153. Defendants have also falsely stated that Sunpack Pacific is attempting
               to divert business from Sunjut A.S. to Sunpack Pacific, when in reality,
               Sunjut A.S. and Sunjut U.S.A. are attempting to divert customers from
               Sunpack Pacific.

          154. Defendants have made these false and defamatory statements to
               Sunpack Pacific s and Dry Enterprises customers and suppliers via
               written email correspondence and via telephone. At all times,
               Defendants knew that these statements were false or with a high degree
               of awareness that the same were probably false, or with reckless
               disregard for the truth.

          Complaint, ¶¶151-154, at 27-28.

       As The Court of Appeals observed in Airborne Beepers & Video, Inc. v. AT&T Mobility

LLC, 499 F.3d 663, 667 (7th Cir. 2007):

          In Bell Atlantic Corp. v. Twombly, --- U.S. ----, 127 S.Ct. 1955, 167 L.Ed.2d
          929 (2007), the Supreme Court wrote that [w]hile a complaint attacked by a
          Rule 12(b)(6) motion to dismiss does not need detailed factual allegations, ...
          a plaintiff's obligation to provide the grounds' of his entitle[ment] to relief
          requires more than labels and conclusions, and a formulaic recitation of the
          elements of a cause of action will not do.... Id. at 1964-65 (citations omitted).

       Here, it is impossible to know who any particular defendant allegedly contacted, what

was allegedly said, when the communication allegedly took place, and which of the alleged

false statements described (acting unlawfully, stealing, being greedy, or attempting to divert

business) it is claimed were made by that defendant. It is also impossible to know whether the

unidentified statements relied upon by Plaintiffs are susceptible of an innocent construction.




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       Where the basis for the action is as amorphous and undefined as this, even the cases

Plaintiffs cite conclude that the allegations are insufficient to state a claim for defamation:

           Numerous courts in this district have applied a haec verba pleading
           requirement in defamation actions under which a complainant must set forth
           the alleged defamatory words that were spoken or published. See. e.g.,Cozzi
           v. Pepsi-Cola General Bottlers, Inc., No. 96 C 7228, 1997 WL 312048, at *5
           (N.D.Ill. June 6, 1997); Silk v. City of Chicago, No. 95 C 0143, 1996 WL
           312074 (N.D.Ill. June 7, 1996). The rationale of the [haec verba] requirement
           is that general knowledge of the exact language used is necessary to form a
           responsive pleading. Cozzi, 1997 WL 312048, at *5 (quoting Vantassell-
           Matin v. Nelson, 741 F.Supp. 698, 707 (N.D.Ill.1990)). Courts applying this
           requirement, however, have held that the defamatory language need not be
           quoted verbatim. Id. Rather, an allegation is sufficiently specific if it allows
           the defendant to understand the nature of the claim and form a responsive
           pleading. Socorro v. IMI Data Search, Inc., No. 02 C 8120, 2003 WL
           1964269, at *3 (N.D.Ill. April 28, 2003) (citing Wynne v. Stevenson, No. 02
           C 5263, 2002 WL 31804497, at *2 (N.D.Ill.Dec.13, 2002)).

           Wilton Partners III v. Gallagher, 2003 WL 22880834, at *5 (N.D. Ill.)

       In Wilton Partners, a case relied upon by Plaintiffs, the allegations bore some

resemblance to those made in this case:

           [D]efendants knowingly and intentionally made false statements about Tim
           Gallagher and FEPC to third parties, including, but not limited to, CVS
           Corporation, the Village of Arlington Heights, CB Richard Ellis, Trapani
           Companies, Leonardo Companies, Jos. Freed Associates, and Corrigan and
           Clark. According to the amended counterclaim and third party complaint:

               Among other things, [counter-and third party defendants] advised one
               or more of the above-referenced entities that Gallagher and FEPC
               were engaged in illegal or wrongful conduct; misappropriated or stole
               information belonging to Wilton; misrepresented themselves in
               proposals to one or more of the above-referenced entities or were
               otherwise lacking in business integrity.

           Wilton Partners, at *2-3.

       The court in Wilton Partners granted a motion to dismiss and required the Plaintiff in

that case to set forth the actual content of the alleged defamatory statements, the context in




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which they were allegedly made and the identities of the speakers and the individuals to whom

they were made. Id., at 6. These particulars are required here, too.

       A review of the decisions cited by Plaintiffs reveals that in each case, the allegations

were either found to be insufficient (Wilton Partners) or were accepted because they were far

more informative than the general allegations here. In Chisholm v. Foothill Capital Corp., 940

F.Supp. 1273, 1284 (N.D. Ill. 1996), the defendant was alleged to have told business associates

that Plaintiff was fired for double-dealing between his former employer and a company her

husband controlled. In Guy v. State of Illinois, 958 F.Supp. 1300, 1312 (N.D. Ill. 1997), the

Defendant was alleged to have told co-workers about the events leading to her termination, and

to have issued press releases about her termination asserting that it was for professional

incompetence. In Landmark Document Services, LLC v. Omega Litigation Solutions, LLC,

2006 WL 2861098 at *3 (N.D.Ill.), the decision rested on the fact that the complaint alleged

defamatory statements of incompetence and described the third parties to whom they were

made; the only basis of the motion was that the timing of the statements was not provided.

       That Plaintiffs had no difficulty in identifying a number of specific communications

allegedly made suggests two possibilities with respect to communications not specifically

alleged in the Complaint. One, that Plaintiffs investigation has revealed no evidence of any

specific statements other than those cited, or two, that Plaintiffs wish to avoid testing such

statements for whether they constitute defamation.

       Plaintiffs claims depend upon showing that specific defamatory communications are

actionable, as is illustrated by all of the decisions resolving the question. For example, in

Naeemullah v. Citicorp Services, Inc., 78 F.Supp.2d 783, 790-92 (N.D. Ill. 2001), the court

reviewed nine defamatory statements and various republications of them to decide the question.




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Thus the communication-by-communication review in Plaintiffs supporting Memorandum of

Law is the appropriate approach to these claims.

       Plaintiffs also list twenty of the paragraphs to which the defamation count refers,

Response, at 3, and challenge Defendants supposed failure to address them. Examination of

the paragraphs reveals that they allege no additional defamatory statements. None identifies a

statement overlooked by the motion and supporting Memorandum of Law. It is the publication

of defamatory statements, not the context, that forms the basis for a defamation action.

       Nor was it gamesmanship for Defendants to address the specific allegations against

Yasemine Cinar and Tuncer Erktolar as if they formed part of the basis for Count VII. For

reasons not made clear, Count VII incorporated them by reference, Complaint, ¶150, at 27.

They were the only statements by these defendants contained in the Complaint. In the case of

Defendant Erktolar, the statement is alleged to have been false and defamatory. (Complaint,

¶104) Moreover, while the Response to this motion takes Defendants to task for addressing

those allegations, Response, at 3, n. 1, the response to the Cinar motion to dismiss actually

contends that the allegations do support a claim for defamation.

II.     NO STATEMENTS OF LACK OF ABILITY OR MISCONDUCT IN PERFORMING SERVICES

       Plaintiffs provide no analysis of criminal law to support their assertion of defamation

per se. Instead, they rely principally upon the two trade or profession forms of defamation

per se. This reliance is misplaced because those exceptions do not provide that any unflattering

comment about them that is somehow related to their trade is actionable.            The line of

demarcation is spelled out in Cody v. Harris,409 F.3d 853, 857-58 (7th Cir. 2005), decided long

after the Bryson decision on which they primarily rely. Cody was said to have lacked the




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integrity and judgment to resist taking revenge on his employer by making improper website

postings. The Seventh Circuit found no defamation, and explained the conclusion this way:

          Statements that have been deemed defamatory per se by Illinois courts under
          the third and/or fourth categories have always been related to job
          performance; to succeed, the plaintiff must have been accused of lacking
          ability in his trade or doing something bad in the course of carrying out his
          job. See Clarage v. Kuzma, 342 Ill.App.3d 573, 276 Ill.Dec. 995, 795 N.E.2d
          348, 356 (2003); Parker v. House O'Lite Corp., 324 Ill.App.3d 1014, 258
          Ill.Dec. 304, 756 N.E.2d 286, 296 (2001). For example, in Parker, the
          plaintiff, whose job was drafting lighting specifications for a new hospital,
          was accused of rigging the specifications so that only his brother-in-law
          would be able to get the job. Parker, 258 Ill.Dec. 304, 756 N.E.2d at 292.
          This alleged want of integrity was in performing the plaintiff's duties of
          employment, and the court stated that it constituted defamation per se. Id. at
          296. Clarage presented a similar situation: a property developer was accused
          of lying to officials in the course of a resort development deal, and the
          accusation was deemed to constitute defamation per se. Clarage, 276 Ill.Dec.
          995, 795 N.E.2d at 356. The court pointed out that the plaintiff was not
          accused of lying to family and friends, but rather to government officials with
          whom it was his job to communicate honestly. See Id.

          Conversely, attacks related to personal integrity and character have not been
          deemed defamatory per se. See Heying v. Simonaitis, 126 Ill.App.3d 157, 81
          Ill.Dec. 335, 466 N.E.2d 1137, 1143 (1984). In Heying, the court held that
          statements made by doctors regarding personality conflicts between the
          plaintiff nurse and her fellow employees did not impugn her ability as a
          nurse. Id. In another case discussed by both Cody and the defendants, the
          plaintiff's former employer told a prospective employer that the plaintiff had
          been terminated because he made calls to 1-900 numbers while on the job;
          although this accusation might have damaged the plaintiff's personal
          reputation, and might well have hurt his chances for getting the new job, it
          was not deemed defamatory per se because it did not disparage the plaintiff's
          skills as a manager. See Sangston v. Ridge Country Club, 1992 WL 317138,
          at *4 (N.D.Ill. Oct.29, 1992).

       Because the remarks about the Plaintiff did not disparage Cody's skills as a sales

manager, but were critical of his personal integrity, Id., they were not defamation per se. This

holding from the Court of Appeals on the governing Illinois law dooms Plaintiffs assertions

that they come within the defamation per se categories they claim, as will be evident from the

review below.



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           III.     THE SPECIFIC COMMUNICATIONS ALLEGED ARE NOT ACTIONABLE

         A.       First Statement: Assertion That Sunpack Pacific Is Part of Sunjut

         This communication to a Chinese supplier, the particulars of which are alleged in

paragraphs 79 and 80, is claimed (¶81) to be defamatory because it says that Sunjut made a

company called Sunjut Pacific and allowed Hakan and a USA sales rep, Steve Dry, to become

partners in it.     Paragraph 81 asserts that the falsehood is that Sunjut Pacific LLC1 was a

separate company from Sunjut A.S. The recipients of the e-mail are alleged to be Chinese

suppliers to Sunjut Pacific LLC. The response to the motion does not explain how the alleged

inaccuracy could be defamatory in character.

         B.       Second Statement: Not Acting In Accordance With Our Concept of Ethics

         The Complaint (¶82) cites a statement from the same e-mail message that Plaintiffs had

    been caught not acting in accordance with our partnership and our concepts of ethics.

Plaintiffs cite no authority on point, relying only on a general direction from the Illinois

Supreme Court not to strain to alter the meaning of words used. They do not answer the

authority cited by Defendants, Gardner v. Senior Living Sys., Inc., 731 N.E.2d 350, 355 (1st

Dist. 2000), holding that calling someone unethical cannot reasonably be construed to state

verifiable facts.

         Here, the reference to ethics is specifically qualified, referring only to the author s

standards of ethics, making it an opinion statement, Marczak v. Drexel National Bank, 542

N.E.2d 787, 790 (Ill.App. 1 st Dist. 1989)(that employee did not live up to the high standards

expected of officers of the bank was not defamatory). The statement asserts that Plaintiffs did

not live up to an agreement, which is not so morally reprehensible as to justify presuming


1
 The Complaint uses the name Sunpack Pacific LLC as a defined term. This entity was named Sunjut Pacific
LLC until January 5, 2007 (Complaint ¶ xx)



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damages, American Needle & Novelty, Inc. v. Drew,820 F.Supp. 1072, 1075-76 (N.D. Ill.

1993). As the communication discloses and Plaintiffs allege (Complaint, ¶89), the business

relationship between the author and Plaintiffs was being severed. The reasonable construction

is that the author believed that Plaintiffs had not lived up to their agreement and viewed this as

being unethical. At most, this was an opinion and not an assertion of facts.

       In Knafel v. Chicago Sun-Times, 413 F.3d 637, 639-40 (7th Cir. 2005), where a

comment about the plaintiff s conduct implied she was a prostitute, the court found an innocent

construction because a reasonable person could interpret the statement as merely suggesting

that the plaintiff was being mercenary after an affair. Here, the statement of disappointment in

the conduct of erstwhile partners came in the context of a pitch to continue doing business

through Sunjut rather than Plaintiffs. It can at worst be construed as personal disapproval and

disappointment about the conduct of a business partner.

  C.      Third Statement: Desire to Continue Use of Sunjut Name Would Be Stealing

       The Complaint (¶84) cites a letter to another Chinese supplier stating: Although they

do not act as a Sunjut group member, they want to continue using the name Sunjut. This is

called stealing. I will fight them in the hardest way. Their greed has blinded them.            The

Complaint also says Plaintiffs had kicked Sunjut out of Sunjut Pacific LLC (Complaint, ¶89).

       This is in no sense an accusation that Plaintiffs are thieves; it is classic hyperbole

expressing the author s dissatisfaction with those who would want to continue to use a name

after their relationship with the name s owner has been severed. A desire to retain one s name

under such circumstances, the only verifiable fact here, fits into none of the categories of per se

defamation. Facts that are not defamatory do not become defamatory because an opinion or

hyperbole describing the conduct as criminal comes with it. Greenbelt Co-op Pub. Assn'n v.




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Bressler, 398 U.S. 6, 14, 90 S.Ct. 1537, 1542 (1970) ("blackmail" characterization not

defamatory). Plaintiffs allegation that the use of the name was originally approved by Sunjut

(Complaint, ¶85) misses the point of the assertion, which is specifically focused on Plaintiffs

desire to continue using the name.

      D.      Fourth Statement: Plaintiffs Customers Were Defendants Customers

       This same letter is alleged to be defamatory because identifies customers of Plaintiffs as

being Defendants customers and refers to them as having been introduced to the supplier

 under the Sunjut umbrella. (Complaint, ¶86) Defendants argued that this statement simply

emphasizes the importance to the author of loyalty to Sunjut. Plaintiffs response does not

explain how this statement could be considered defamatory.

        E.      Fifth Statement: Converting Bags From Sunjut to China Company

       Plaintiffs quote a statement by Defendant Fidan Labbe that Steve has opened a

company of his own in China, without permission has converted many bags from Sunjut to this

company of his.     (Complaint, ¶93) Exhibit A to Defendants Memorandum of Law in support

of the motion, which contains the full communication, was submitted to the court, Document

No. 20-2. As noted in Defendants supporting Memorandum, at 11, the context of the actual e-

mail message itself places this comment in a different light from the isolated fragment quoted

in the Complaint.

       The message begins by saying that the customer s purchase order was incorrectly sent

to Steve Dry when it should have gone to the other sales representative, John Marks. It

confirms that Defendants split the customer s business between Dry and Marks. It then states

that Dry has opened his own company in China, without permission had converted many bags




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from Sunjut to this company of his.    More important, it goes on to express only one concern:

that the bags ordered were special and had historically been manufactured by Sunjut Turkey.

        Plaintiffs argument is that the words converted and without permission can only be

read to impute improper conduct. To the contrary, nothing in the message suggests that Dry

needed Sunjut s permission to open a company in China or to supply bags from his own

company. The message is not clear about whether the lack of permission refers to the opening

of the company in China or the conversion of bags from a source in Turkey to one in China. A

reasonable person reading this message would take away only that the customer should not

blame Sunjut for either the China company or the conversion of bags from Sunjut to Chinese

bags.

        Nor does the legal meaning of convert (the tort of conversion, which suggests the

taking and carrying away of the property of another) necessarily connote wrongful conduct.

The Complaint itself reflects that the intent of the parties in forming Sunjut Pacific LLC was to

obtain a lower cost source for FIBC s. (Complaint, ¶¶46-54)          The word convert       more

reasonably refers to converting the customer s source of supply from one origination point to

another. If the intention was to accuse Dry of some reprehensible conduct, this sentence could

not be expected to be subordinate to the obvious purpose of the message: to avoid confusion or

disappointment of the customer resulting from the order being faxed to the wrong fax number.

There is no assertion that Sunjut is sufficiently offended by the conduct to cease doing business

with Dry, no criticism of the conduct, no plea to the customer not to cooperate or continue to

work with Dry .

        Even reading the alleged communication to assert specific, verifiable facts, it does not

accuse Plaintiffs of a crime, such as in Republic Tobacco Co. v. North Atlantic Trading Co.,




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381 F.3d 730, 717 (7th Cir. 2004)(allegation of improper defacing of competitor s merchandise

and thereby conducting business in violation of trademark and patent laws held to be

defamatory) because taken as a whole, the communication does not represent an accusation of

morally reprehensible conduct. Plaintiffs have identified no criminal statute that would be

violated by the alleged conduct. To the extent that the behavior cited reflects a lack of personal

integrity, it falls outside the trade or profession per se categories because it does not concern

fitness to perform services. Cody v. Harris, 409 F.3d 853, 857-58 (7th Cir. 2005). See also e.g.,

American Needle & Novelty, Inc. v. Drew, 820 F.Supp. 1072, 1075-76 (N.D. Ill. 1993)(plaintiff

guilty of deliberate breach of terms and conditions of agreement and agreement terminated);

Uline , Inc. v. JIT Packaging, Inc. 437 F.Supp.2d 793, 803-4 (N.D. Ill. 2006)(Plaintiff has or is

about to have financial problems)

       F.    Sixth Statement: Former Sales Representative Engaging In Competition

        Paragraphs 95-96 contend that it was false and defamatory for Defendant Levi to state

in an e-mail to this same customer that Dry had been, but was no longer, a sales representative

and that he was      now apparently attempting to divert business from Sunjut/Sunpack to

[Plaintiff company].   The claim of defamatory material is based on the assertion that Dry was

not a sales representative and that the customer was Dry s customer, not Sunjut s. (Complaint,

¶96)

        Plaintiffs assert that Defendants have not challenged the sufficiency of paragraph 95

(Response, at 7).      Yet Plaintiffs specifically acknowledge that paragraph 96 which

Defendants did identify and attack (Memorandum of Law in support of the motion, at 11-12)

identifies what it is about paragraph 95 that is allegedly actionable (Response, at 8).




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        There is nothing in the Complaint or the Response indicating why being a sales

representative for Sunjut would be criminal or otherwise within the scope of statements

actionable per se. Nor is there anything explaining how it would be improper about a former

sales representative attempting to divert his former company s business to his own new

company. This is ordinary business conduct, lawful in the abstract.2 Those are the only

assertions contained in the communication that are claimed to have been defamatory.

        G.      Seventh Statement: Shipment Ready, Invoices On Sunjut Letterhead

        Defendant Patriquin is named as a defendant in this lawsuit solely because she sent an

e-mail message to a different customer stating that its shipment had arrived and that all invoices

would be on Sunjut letterhead from now on. (Complaint, ¶¶98-99) A simple notification,

regardless of the customer s alleged defensive and inexplicably offended response, is not

defamation. Patriquin s Reply in Support of her motion to dismiss is incorporated by reference.

                 H.      Eighth Statement: Send Payments Directly To Sunjut

        Defendant Erktolar is named as a defendant in this lawsuit solely because he contacted a

customer to say that the customer should send payments directly to Sunjut. (Complaint, ¶¶103-

4) This was the historical practice (Complaint, ¶ xx)             This cannot by any stretch of the

imagination be construed as a statement commenting or reflecting on the character of any

Plaintiff. Plaintiffs contend that this constitutes a statement that Dry no longer maintained

control or responsibility over the customer s orders. According to the Response, not only can

this assertion be teased out of the statement, but it is the only reasonable construction that can


2
  It is possible that such conduct could breach a duty of loyalty or obedience, but this would not render
the statement defamatory per se under the Cody analysis set forth above. More important, there is no
assertion here that there was a duty to refrain from competition or that pre-termination violation of the
duty of loyalty had taken place. As American Needle & Novelty, Inc. v. Drew, 820 F.Supp. 1072, 1075-
76 (N.D. Ill. 1993) illustrates, an assertion of failure to abide by obligations under an agreement is not
defamatory per se.


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be put on the statement. Plaintiffs cite no case in which a direction about where to send

payment (or any other direction of any kind) has ever been found to be actionable defamation.

In Davis v. John Crane, Inc. 633 N.E.2d 929, 938 (Ill.App. 1 st Dist. 1994), the court found no

defamation when plaintiff was escorted off the premises publicly and his personal belongings

searched by a security guard, citing Dubrovin v. Marshall Fields & Co., 536 N.E.2d 800

(Ill.App. 1st Dist. 1989).   These cases present a far more compelling basis for claiming

defamation than a simple direction about remittance address.

       Moreover, Plaintiffs assert that the implication of the statement tarnishes a business s

reputation and imputes a lack of professional competence. (Response, at 10) Plaintiffs do not

explain how this could be so. In fact, significantly more direct and critical comments have

routinely been held not to constitute defamation, e.g., Drury v. Sanofi-Synthelabs, Inc., 292

F.Supp.2d 1068, 1070-71 (N.D. Ill. 2003)(allegation that plaintiff was a cancer on co-workers

not actionable); Doherty v. Kahn, 682 N.E.2d 163, 172 (Ill.App. 1st Dist. 1997)(accusation that

plaintiff was lazy, incompetent and could not do his job not defamatory per se).

           I.      Ninth Statement: Branch Office Not To Cooperate With Dry

       Defendant Cinar is named as a defendant in this lawsuit solely because she allegedly

 contacted Sunjut A.S. s branch offices in Europe to tell them to no longer provide assistance

to Dry Enterprises or Hazneci. (Complaint, ¶105) Cinar is alleged to be the Sales Director

for Sunjut A.S. (Complaint, ¶13) No argument is advanced for how this alleged action could

represent a defamatory communication; indeed, it is not even alleged to have been defamatory.

                                 IV.     NO LIBEL PER QUOD

       Tellingly, the Complaint fails to identify a single specific loss that resulting from any of

the alleged defamatory communications. Plaintiffs do not respond to the contention in the




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supporting Memorandum of Law, at 4, that there is no allegation tying any specific defamatory

publication to an alleged loss of sales. Rule 9(g) requires that if an item of special damages is

claimed, it must be specifically stated, and there is no such itemization. Thus, no claim of libel

per quod has been sufficiently alleged here.

                                      V.       CONCLUSION

       The claim for defamation in Count VII is legally unfounded. Count VII fails to state a

claim for which relief may be granted and should be dismissed.

Dated: March 4, 2008

                                                    Respectfully submitted,

                                                    HINSHAW & CULBERTSON LLP


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                              CERTIFICATE OF SERVICE

I hereby certify that pursuant to Local Rule 5.5, service of the foregoing was accomplished
upon all Filing Users pursuant to the Court's Electronic Case Filing system on March 4, 2008.


                                           /s/Michael J. Leech




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